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                      THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF KENTUCKY
                                OWENSBORO DIVISION

   LWD PRP GROUP,                                         )
                                                          )
                  Plaintiff,                              )
                                                          )
                       v.                                 )   Civil Action No. 5:12-CV-00127-
                                                          )   JHM-HBB
   ACF INDUSTRIES LLC, et al.                             )
                                                          )
                  Defendants.
                                                          )

                       MOTION FOR CLERK’S ENTRY OF DEFAULT
                    AS TO DEFENDANT PARADIGM AEROSPACE CORP.

   TO:    VANESSA L. ARMSTRONG
          CLERK OF THE COURT
          UNITED STATES DISTRICT COURT
          WESTERN DISTRICT OF KENTUCKY

          Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, Plaintiff LWD PRP

   Group respectfully requests the Clerk of the Court enter the default of Defendant Paradigm

   Aerospace Corp. (proposed Entry of Default is attached hereto as Ex. A), which defendant has

   failed to answer or otherwise defend the Complaint herein, as fully appears from the Court file

   herein and from the attached Affidavit of Gary D. Justis (Ex. B hereto) in support of this request

   for the Clerk’s Entry of Default.
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   Dated: October 15, 2014            Respectfully submitted,


                                      /s/ Gary D. Justis
                                      Gary D. Justis               admitted pro hac vice
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                                             and
                                      W. Fletcher McMurry Schrock (Ky. Bar# 62283)
                                      MCMURRY & LIVINGSTON, PLLC
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                                      ATTORNEYS FOR PLAINTIFF LWD PRP
                                      GROUP




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on October 15, 2014, a copy of the foregoing Motion for Clerk’s

   Entry of Default as to Defendant Paradigm Aerospace Corp. was filed electronically. Notice of

   this filing will be sent to all parties by operation of the Court’s electronic filing system. Parties

   may access this filing through the Court’s Electronic Case Filing System. I further certify that on

   October 15, 2014, the foregoing Motion for Clerk’s Entry of Default as to Defendant Paradigm

   Aerospace Corp. was also placed in the U.S. Mail, postage prepaid, to the following

   representative for Defendant Paradigm Aerospace Corp.:

                   Ed Pears
                   Owner
                   Paradigm Aerospace Corp.
                   226 Airport Rd.
                   Mt. Pleasant, PA 15666


                                                  /s/ Gary D. Justis
                                                  Gary D. Justis




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